        Case 1:18-cr-02945-WJ Document 197 Filed 03/10/20 Page 1 of 1


                     IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                     Plaintiff,
vs.                                                    No. 18CR2945-001 WJ

JANY LEVEILLE,

                     Defendant.


                   AMENDED NOTICE OF NON-AVAILABILITY

       Kari Converse, counsel for Ms. Leveille, hereby notifies the Court and counsel of

record that she will be at an out-of-state conference and following that on medical leave

and unavailable for hearings from Wednesday, March 25, 2020 through Friday, April 10,

2020, inclusive.

       WHEREFORE Counsel respectfully requests that any hearings, trial matters,

depositions and any other matters not be scheduled during the above time periods as

counsel will be out of the office and unavailable.

                                            Respectfully submitted,

                                            FEDERAL PUBLIC DEFENDER
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                                            ls/La
                                            KARI CONYERS
                                                               ed on 03/10/2020

                                            Attorney for MS. Leveille
